           .,      Case 3:12-cr-01054-W                    Document 50            Filed 05/18/12               PageID.95            Page 1 of 2


     ~AO 245B (CASD) (Rev       12/11) Judgment in a Criminal Case
                    Sheet I




                                                     SOUTHERN DISTRICT OF CALIFORNIA
                         UNITED STATES OF AMERICA
                                           v.
                      JESUS ROMAN COTA-ALCARAZ (2)                                   Case Number: 12CR1054-W
                                                                                     Nathan Feneis, Federal Defenders Inc
                                                                                     Defendant's Attorney
     REGISTRATION NO. 31352298

     o
     THE DEFENDANT:
     18\ pleaded guilty to count(s) TWO OF THE SUPERSEDING INFORMATION
     o was found guilty on oount(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                after a plea of not guilty,
                Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                            Count
     Title & Section                            Nature of Offense                                                                          Nurnber(s)
8 USC 1324(a)(1)(A)(i)                  BRlNGING IN ILLEGAL ALIEN(S) AND AIDING AND ABETTING                                                     2
 and (v)(II)




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o The defendant has been found not guilty on count(s)
  18\ Count(s) REMAINING                                       --------------------------------
                                                                        0             is         arel8\ dismissed on the motion of the United States.
  I8l Assessment: $100.00-WAIVED

  I8l Fine waived                                      o Forfeiture pursuant to order filed
                                                                                                   --------------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendanfs economic circumstances.

                                                                               MAY 18,2012
                                                                              Date of Imposition of Sentence




                                                                              HON. THOMASJ. W
                                                                              UNITED STATES DIS

                                                                                                                                                  12CR1054-W
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AO 245B (CASD) (Rev. 12/\1) Judgment in a Criminal Case
           Sheel2 Imprisonment
                                                                                           Judgment - Page _ _2 _ of         2
 DEFENDANT: JESUS ROMAN COTA-ALCARAZ (2)
 CASE NUMBER: 12CRI054-W
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.       on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o ---------------------------------------------------------------------
               before
       o       as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ___________________ , with a certified copy ofthis judgment.


                                                                                         UNITED STATES MARSHAL

                                                                    By _______________------__----------------­
                                                                                      DEPUTY UNITED STATE.'l MARSHAL




                                                                                                                       12CRI054-W
